                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
              v.                            )               MOTION FOR PERMISSION
                                            )                   TO TRAVEL
TIJEMA BROWN                                )
                                            )               3:25-cr-00106-KDB-SCR
 Defendant.                                 )
                                            )

       NOW COMES the Defendant by and through undersigned Counsel and hereby moves this
honorable court for permission to travel and in support of said Motion avers:

   1.) Defendant was indicted on May 22, 2025, and charged with violations of 18 USC §§1343 and
          1349 and appeared for her initial appearance on Friday, May 23, 2025.

   2.) During the hearing Counsel advised that Ms. Brown currently has a trip planned, predating her
          awareness of the formal accusation, Indictment, and First Appearance.

   3.) AUSA Warren does not object as long as pertinent information is provided regarding Ms. Brown’s
          travel to and from Jamaica on June 7, 2025, until June 11, 2025.

   4.) Ms. Brown is scheduled to travel to Montego Bay, Jamaica with two other individuals, who Ms.
          Brown advises are her cousin and God-sister.

   5.) These plans were confirmed in May 2025, prior to the indictment, and they will stay at the
         Ocean Eden Bay Resort.

   6.) Ms. Brown has a one-year-old son who lives in Charotte, NC and she is gainfully employed at
          Amazon as well as confirmed air travel.

   7.) She and her travel mates have paid for the Resort stay prior to Ms. Brown becoming aware of the
         formal accusations.

   8.) Ms. Brown is not a flight risk and will be returning to the Western District of North Carolina on
          June 11, 2025 to the home where she resides with her son, Mother and Grandmother.

   9.) This Motion is not for dilatory purposes and for compelling cause.




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   WHEREFORE, Defendant, Tijema Brown, prays the Court allow her to travel to Montego Bay,
Jamaica June 7, 2025, to June 11, 2025.


Submitted on this 27th day of May 2025.


                                                              s/Kimberly Y. Best_____________
                                                              Kimberly Y. Best
                                                              The Best Law Firm, PLLC
                                                              212 N. McDowell St., Suite 208
                                                              Charlotte, NC 28204
                                                              thebestlawfirmpllc@gmail.com
                                                              980-553-0139



                                   CERTIFICATE OF SERVICE

    I, Kimberly Y. Best, hereby certify that I have served a copy of the foregoing MOTION TO
TRAVEL upon the following parties via ECF.


Matthew Warren, Esq.
Assistant United States Attorney
227 W. Trade St., Suite 1650
Charlotte, NC 28202


Submitted this 27TH day of May 2025.




                                                /s/Kimberly Y. Best
                                                Kimberly Y. Best, Esq. 24932
                                                212 N. McDowell St., Suite 208
                                                Charlotte, NC 28204
                                                thebestlawfirmpllc@gmail.com
                                                980-553-0139




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